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IN THE UNITED sTATEs DISTRICT coUi-'$EED B' ~-' "“

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NATIONAL HERITAGE REALTY, INC¢;
Plaintiff,
vsl

NO. O4-26593V

MID-SOUTH ASSOCIATES, LLC.,

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Defendant.

 

ORDER GRANTING IN PART PLAINTIFF’S MOTION
FOR AN EXTEND DISCOVERY PERIOD

 

Before the court is the August ll, 2005 motion of the
plaintiff, National Heritage Realty, Inc., seeking a limited
extension of the discovery period of ninety days. The defendant
opposes amending the scheduling order to allow additional time for
discovery and insists that the plaintiff has not shown good cause
to amend the scheduling order. The motion was referred to the
United States Magistrate Judge for determination. For the reasons
that follow, the motion is granted in part.

Rule 16(b) of the Federal Rules of Civil Procedure provides
that “{a] schedule shall not be modified except upon a showing of
good cause and by leave of the district judge.” Consequently, the
burden is upon the moving party to establish a good cause

justification for the amendment of a scheduling order. Bradford v.

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Dana Corporation, 249 F.3d 807, 809 (Sth Cir. 2001). Once this
showing is made, the district court must exercise its discretion as
to whether to grant the motion. Id. In the Sixth Circuit, “a
court choosing to modify the schedule based upon a showing of good
cause, may do so only ‘if it cannot reasonably be met despite the
diligence of the party seeking the extension.'” Leary'v. Daeschner,
349 F.3d 888, 906 (6th Cir. 2003) (quoting Fed. R. Civ. P.
16(b)(advisory committee's notes)). Additionally, the court should
consider whether the opposing party will suffer prejudice by virtue
of the amendment. Id.

This case was filed approximately one year ago on August 26,
2004. The Rule 16(b} scheduling order was entered on February 28,
2005. It established Friday, September 2, 2005, as the deadline
for completing discovery, and Monday, October 3, 2005, as the
deadline for filing dispositive motions. Trial is scheduled for
January 30, 2006. This is the first request for any amendment of
the scheduling order.

On May 27, 2005, the defendant filed an amended counterclaim
wherein it asserted a counterclaim for damages, for the first time,
in the amount of $30 million dollars. Approximately 13,000 pages
of documents have been produced collectively by the parties. At
the time this motion. was filed, there remained about fifteen

depositions to be taken collectively before the expiration of the

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discovery period, including experts. Due to the schedules of
counsel and the witnesses, the depositions cannot be completed
before the present discovery deadline. The defendant will not
suffer any prejudice by an extension of the discovery deadline.

Given the magnitude of the defendant’s counterclaim for
damages, the volume of documents involved, the number of
depositions remaining to be taken, the diligence of the parties
thus far as a whole in pursuing discovery, and the timeliness of
the motion to extend the deadline, the court finds that good cause
has been shown to warrant a limited extension of the discovery
period.

Aocordingly, the deadline for completing discovery is extended
to and including Monday, October 31, 2005; the deadline for the
defendant's expert disclosures is Monday, October 3, 2005; the
deadline for supplementation under Rule 26(e) is Friday, October
14, 2005; and the deadline for filing dispositive motions is
extended to and including Monday, November 14, 2005. All other
dates remain the same.

IT IS SO ORDERED this 23rd day of Angust, 2005.

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DIANE K. V'ESCOVO
UNITED STATES MAGISTRATE J'UDGE

 

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This notice confirms a copy of the document docketed as number 45 in
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Honorable J. Breen
US DISTRICT COURT

